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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS

JONETTA BROOKS,                                §
                                               §
               Plaintiff,                      § Civil Action No.: 3:16-cv-01938-M
                                               §
               v.                              §
                                               §
MEDICREDIT, INC.,                              §
                                               §
                                               §
               Defendant.                      §

         PLAINTIFF’S MOTION TO VOLUNTARY DISMISS HER COMPLAINT
                      PURSUANT TO F.R.C.P. 41(a)(2)

       Plaintiff, Jonetta Brooks (“Plaintiff”), through her counsel, Kimmel & Silverman, P.C.,

brings this motion requesting the court voluntarily dismiss her Complaint with prejudice, each

side to bear its own costs, pursuant to F.R.CP. 41(a)(2). Plaintiff has conferred with Defendant

and Defendant does not consent to this request.

       For the reasons set forth in the accompanying Memorandum of Law, Plaintiff wishes to

dismiss this case with prejudice and requests that the Court grant her request.

                                              RESPECTFULLY SUBMITTED,


  DATED: January 20, 2017                     KIMMEL & SILVERMAN, P.C.

                                                  _/s/ Amy Lynn Bennecoff Ginsburg
                                                  Amy Lynn Bennecoff Ginsburg, Esq.
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                               CERTIFICATE OF SERVICE

       I certify that on January 20, 2017, I filed the foregoing document with the clerk of the

U.S. District Court, Northern District of Texas via ECF, which will effect service on all counsel

of record.



  DATED: January 20, 2017                   KIMMEL & SILVERMAN, P.C.

                                               _/s/ Amy Lynn Bennecoff Ginsburg
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